     Case 2:11-cr-00107-WFN     ECF No. 1192   filed 10/11/12   PageID.5129 Page 1 of 1




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 2
 3
                              UNITED STATES DISTRICT COURT
 4
                            EASTERN DISTRICT OF WASHINGTON
 5
      UNITED STATES OF AMERICA,                  )
 6                                               )    NO.       CR-11-107-WFN-15
                               Plaintiff,        )
 7                                               )
                -vs-                             )    ORDER MODIFYING
 8                                               )    CONDITIONS OF RELEASE
      NELSON ALEXANDER PEREZ,                    )
 9                                               )
                               Defendant.        )
10
11          Pending before the Court is Defendant's Motion to Modify Order Setting Conditions
12 of Release (ECF No. 1189). The Court has reviewed the file and Motion and is fully
13 informed. Accordingly,
14          IT IS ORDERED that:
15          1. Defendant's Motion to Modify Order Setting Conditions of Release, filed on
16 October 11, 2012, ECF No. 1189, is GRANTED.
17          2. The Defendant shall be allowed to travel to Bradenton, Florida on October 27,
18 2012, to reside with his parents prior to reporting to FPC Pensacola on November 1, 2012.
19 All other conditions of the Order Setting Conditions of Release (ECF No. 284) shall remain
20 in effect.
21          The District Court Executive is directed to file this Order and provide copies to
22 counsel AND TO United States Probation Officer Erik Carlson.
23          DATED this 11th day of October, 2012.
24
25                                                  s/ Wm. Fremming Nielsen
                                                       WM. FREMMING NIELSEN
26   10-11-12                                  SENIOR UNITED STATES DISTRICT JUDGE


     ORDER MODIFYING CONDITIONS OF RELEASE- 1
